Case 1:23-mi-99999-UNA Document 801-2 Filed 03/15/23 Page 1 of 7




                Exhibit A
       Case 1:23-mi-99999-UNA Document 801-2 Filed 03/15/23 Page 2 of 7



                       IN THE STATE COURT OF DEKALB COUNTY
                                 STATE OF GEORGIA

CAROLYN BRADSHAW,
    Plaintiff,                                           CIVIL ACTION
                                                                   23A00594
VS.                                                      FILE NO.:

MICHAEL JONES and                                        JURY TRIAL DEMANDED
ALABAMA CARRIERS,LLC,
    Defendants.

                     COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff CAROLYN BRADSHAW states her complaint against Defendant MICHAEL

JONES and ALABAMA CARRIERS,LLC as follows:

                                PARTIES AND JURISDICTION

                                                  1.

       Plaintiff is a resident ofthe State of Georgia.

                                                  2.

       Defendant Michael Jones ("Jones") is a citizen and resident of the State of Alabama,
whose last known address is 4843 County Road 29, Eufaula, Alabama 36027-5239 in Barbour
County. Defendant is subject to the venue and jurisdiction of this Court under Nonresident
Motorist Act(0.C.G.A. § 40-12-1) by virtue of the fact that Defendant operated a vehicle on the
roads located in the State of Georgia and committed a tortious act in Dekalb County, State of
Georgia.
                                                  3.


       Pursuant to the Georgia Long-Arm Statute, 0.C.G.A. § 9-10-91, this Court has jurisdiction
over Defendant Jones because Defendant Jones committed the tort that is the subject ofthis lawsuit
within the State.
                                                  4.
       Defendant Jones may be served, pursuant to the Nonresident Motorist Act,(0.C.G.A. §




                                                                                                   STATE COURT C
                                                                                                DEKALB COUNTY, G
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        Case 1:23-mi-99999-UNA Document 801-2 Filed 03/15/23 Page 3 of 7



40-12-2) by serving the Georgia Secretary of State with the Summons, Complaint and Affidavit

of Service. Plaintiff has provided said Defendant, by certified mail, a copy of the Summons,

Complaint and Affidavit of Service.

                                                 5.
       Defendant Alabama Carriers, LLC (hereinafter known as "AL Carriers"), is a foreign
limited liability company duly organized and existing under the laws of the State of Tennessee,
engaged in the business of shipping and trucking, with its principal office of business located at
2607 Brick Church Pike, Nashville, Tennessee 37207-4409. Defendant AL Carriers is a foreign
limited liability company that does transact business within the State of Georgia and committed a
tortious act or act of omission within the State of Georgia. Defendant AL Carriers is subject to
the jurisdiction and venue of this Court after service under 0.C.G.A. § 9-10-90, 9-10-91, 9-10-
93, and 9-10-94, Georgia's Long Arm Statute. Defendant AL Carriers may be served with
process by serving Summons and a copy of this Complaint upon its Registered Agent, C T
Corporation System, 800 S Gay Street — Suite 2021, Knoxville, Tennessee 37929-9710. Venue
and jurisdiction are proper with this Court as Defendant AL Carriers is a joint tortfeasor.
                                                6.
       Defendants Jones and Alabama Carriers, LLC are joint tortfeasors and as such, venue and
jurisdiction are proper in this Court pursuant to 0.C.G.A. § 40-12-3 and the Non-Resident
Motorist Act.
                     COUNT I— NEGLIGENCE OF MICHAEL JONES

                                                7.

       Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 6 above as

if the same were restated herein verbatim.

                                                8.

                On February 1, 2022, Plaintiff was operating a 2021 Toyota Camry and was

traveling in a safe and prudent manner southbound on 1-85 in Dekalb County, Georgia.
        Case 1:23-mi-99999-UNA Document 801-2 Filed 03/15/23 Page 4 of 7



                                                 9.

       At or about that same time, Defendant MICHAEL JONES was driving a 2015 Freightliner

owned by Defendant ALABAMA CARRIERS, LLC southbound on 1-85 in Dekalb County,

Georgia, when he negligently, recklessly, carelessly and unlawfully operated said vehicle, so as to

cause it to collide with the driver's side of Plaintiff's vehicle. Defendant Jones's actions as

described herein were negligent, reckless, careless and unlawful. Said collision caused injuries to

the Plaintiff

                                                10.

       At all relevant times, Defendant MICHAEL JONES owed certain civil duties to Plaintiff,

and, notwithstanding those duties, the Defendant MICHAEL JONES did violate them in the

following particulars:

       a.       In failing to make reasonable and proper observations while driving the 2015

                Freightliner or, if reasonable and proper observations were made, failing to act

                thereon;

       b.       In failing to maintain his lane of travel in violation of0.C.G.A. § 40-6-48;

       c.       In failing to make timely and proper application of his brakes in violation of

                0.C.G.A. § 40-6-241;

       d.       In failing to observe or undertake the necessary precautions to keep the 2015

                Freightliner from colliding with the Plaintiff's vehicle in violation of 0.C.G.A §

                40-6-241;

       e.       In driving the 2015 Freightliner without due caution and circumspection and in a

                manner so as to endanger the person and/or property of others in the immediate

                vicinity in violation of0.C.G.A. § 40-6-241;
        Case 1:23-mi-99999-UNA Document 801-2 Filed 03/15/23 Page 5 of 7



       f.      In driving the 2015 Freightliner in reckless disregard for the safety of persons

                and/or property in violation of0.C.G.A. § 40-6-390, and,

       g.      In committing other negligent and reckless acts and omissions as may be shown by

                the evidence and proven at trial.

                                                    11.

       Defendant Jones's violations of the aforementioned statutory duties of care constitute

negligence and negligence per se.

                                                    12.

        As a direct and proximate result of the aforesaid negligence and breaches of duty by

Defendant, Plaintiff suffered substantial injuries and damages including medical and other

necessary expenses, mental and physical pain and suffering due to the injuries to her body and

nervous system, personal inconvenience, plus an inability to lead a normal life.

                                   COUNT II— WANTONNESS

                                                    13.

       Plaintiff re-alleges and incorporates herein by reference paragraphs 1-12 above as if they

were fully restated verbatim.

                                                    14.

        On February 1, 2022, Defendant MICHAEL JONES operated the 2015 Freightliner

owned by Defendant ALABAMA CARRIERS,LLC with a reckless or conscious disregard of

the rights or safety of others, including Plaintiff.

                                                    1 5.

        As a direct and proximate result of the aforesaid wanton conduct by Defendant

MICHAEL JONES,Plaintiff suffered substantial injuries and damages including medical and
         Case 1:23-mi-99999-UNA Document 801-2 Filed 03/15/23 Page 6 of 7



other necessary expenses, mental and physical pain and suffering due to the injuries to her body

and nervous system, personal inconvenience, plus an inability to lead a normal life.

                        COUNT III — NEGLIGENT ENTRUSTMENT


                                                16.
        Plaintiff re-alleges and incorporates herein by reference paragraphs 1 and 15 above as if
they were fully restated verbatim.
                                               17.
        Defendant ALABAMA CARRIERS, LLC negligently entrusted the 2015 Freightliner to

Defendant MICHAEL JONES when they knew or should have known that Defendant MICHAEL

JONES was incompetent to drive and allowed him to have access to the motor vehicle anyway.

Accordingly, Defendant ALABAMA CARRIERS,LLC is liable for the negligence of Defendant

MICHAEL JONES.

                                               18.

         As a direct and proximate result of the aforesaid negligence and breaches of duty by

Defendant ALABAMA CARRIERS, LLC, Plaintiff suffered substantial injuries and damages

including medical and other necessary expenses, mental and physical pain and suffering due to the

injuries to her body and nervous system, personal inconvenience, plus an inability to lead a normal

life.

                                     PRAYER FOR RELIEF

         WHEREFORE,Plaintiff respectfully prays and demands as follows:

        (a)That Process and Summons issue, as provided by law, requiring Defendants to appear

and answer Plaintiff's Complaint;

        (b)That service be had upon Defendants as provided by law;
            Case 1:23-mi-99999-UNA Document 801-2 Filed 03/15/23 Page 7 of 7



        (c) That Plaintiff have and recover general damages from such Defendants, as the jury

deems are liable to Plaintiff, and in such an amount as the jury deems just and appropriate to fully

and completely compensate Plaintifffor all of her injuries and pain and suffering, mental, physical,

and emotional, past, present, and future;

        (d) That Plaintiff have and recover from Defendants, special damages for past and future

medical expenses and loss of income in the past and future in such an amount as shall be proven

at trial;

        (e) That Plaintiff have and recover from Defendants punitive damages to punish and deter

Defendants fand others from such reckless, wanton conduct in the future;

       (f) That this matter be tried to a jury;

        (g)That all costs be cast against the Defendants; and

       (h)For such other and further relief as this Court deems just and appropriate.



                 Respectfully submitted this 7th day of February, 2023.


                                                  By:   s/Archie I. Grubb, II
                                                        Archie I. Grubb, II
                                                        Attorney for Plaintiff
                                                        Georgia Bar No. 314384
Morgan & Morgan Atlanta, PLLC
408 12th Street — Suite 200                                     STATE COURT OF
Columbus, Georgia 31901                                         DEKALB COUNTY, GA.
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